                                      EXHIBIT E



                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION


____________________________________
CINCLIPS, LLC,                          )
   a Georgia Limited Liability Company  )
                                        )
Plaintiff,                              )
                                        )    Civil Action No. 8:16-cv-01067-SDM0JSS
v.                                      )
                                        )
Z KEEPERS, LLC,                         )
   a Florida Limited Liability Company, )
                                        )
Defendant.                              )
____________________________________)

                     PLAINTIFF’S DEPOSITION DESIGNATION


      WITNESS – DATE AND TIME                      PAGE/LINE TO PAGE/LINE
David Smith                                 9/12-14
May 24, 2017                                10/1-15
10:00 am                                    13/23-14/20
                                            15/17-20
                                            16/20-17/1
                                            18/6-19/17
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                                            26/10-27/14
                                            29/7-11
                                            27/19-21
                                            30/11-18
                                            33/15-20
                                            33/25-34/19
                                            35/15-18
                                            36/5-9
                                            37/16-19
                                            38/15-17
                                            38/24-25
                                            40/23-41/2
                                            42/18-22
                                            44/8-13
                                            44/16-45/2
                                            50/6-24
EXHIBIT E



     58/2-24
     59/19-21
     59/23-60/20
     60/25-61/1
     61/9-21
     69/3-9
     70/3-10
     70/16-23
     72/19-22
     76/13-19
     78/15-25
     87/11-16
     88/22-24
     97/10-13
     98/18-99/10
     104/3-7
     104/19-20
     110/10-17
     112/2-113/20
     114/6-9
     114/12-20
     117/20-119/18
     119/23-122/4
     122/19-124/15
     124/16-126/6
     126/15-127/21
     128/2-4
     129/19-21
     130/20-131/4
     131/7-12
     132/5-7
     132/13-17
     133/4-7
